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                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                            Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                        Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      15   INTERNATIONAL SP,
                                                      16                         Plaintiff,                         Adversary Case No. 21-01167-abl
                                                           v.
                                                      17
                                                           TECUMSEH–INFINITY MEDICAL
                                                      18   RECEIVABLES FUND, LP,
                                                      19                        Defendant.
                                                                                                                    STANDARD DISCOVERY PLAN
                                                      20   TECUMSEH–INFINITY MEDICAL                                OR REQUEST FOR WAIVER
                                                           RECEIVABLES FUND, LP,                                    FOR FILING DISCOVERY PLAN
                                                      21
                                                                               Counter-Plaintiff,
                                                      22   v.
                                                      23   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      24   INTERNATIONAL SP; ROBERT E. ATKINSON,
                                                           CHAPTER 7 TRUSTEE
                                                      25
                                                                                Counter-Defendants.
                                                      26

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                                                       1
                                                           ROBERT E ATKINSON, CHAPTER 7
                                                       2   TRUSTEE,
                                                       3                          Counter-Plaintiff,
                                                       4   v.
                                                       5   TECUMSEH-INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       6
                                                                                  Counter-Defendant.
                                                       7
                                                                  Pursuant to Rule 7026 of the Federal Rules of Bankruptcy Procedure and LR 7026 of the
                                                       8
                                                           Local Rules of Bankruptcy Practice for the United States Bankruptcy Court for the District of
                                                       9
                                                           Nevada, HASelect-Medical Receivables Litigation Finance Fund International SP (“Plaintiff”),
                                                      10
                                                           Tecumseh-Infinity Medical Receivables Fund, LP (“Defendant”), and Robert E. Atkinson, Chapter
                                                      11
              1731 Village Center Circle, Suite 150




                                                           7 Trustee (“Trustee” and, collectively with Plaintiff and Defendant, the “Parties”) set forth the
                                                      12
                   Las Vegas, Nevada 89134




                                                           following:
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                           1.     Discovery Plan
                                                      14
                                                                  ☐       Request for waiver of requirement to prepare a formal discovery plan.
                                                      15
                                                                  The parties certify that all discovery can be completed informally, without the need of court
                                                      16
                                                           intervention and in conformance of the Standard Discovery Plan, and that the matter will be ready
                                                      17
                                                           for trial within 120 days, or
                                                      18
                                                                  ☒       A discovery plan is needed or useful in this case. Check one:
                                                      19
                                                                          ☐       The parties agree to the standard discovery plan.
                                                      20
                                                                          ☒       The parties jointly propose to the court the attached discovery plan and
                                                      21
                                                                  scheduling order. See Exhibit A, Fed. R. Civ. P. Form 35: Report of Parties Planning
                                                      22
                                                                  Meeting, attached hereto.
                                                      23
                                                                          ☐       The parties cannot agree on a discovery plan and scheduling order. The
                                                      24
                                                                  attached sets forth the parties’ disagreements and reasons for each party’s position.
                                                      25
                                                           2.     Nature of the Case
                                                      26
                                                                  This adversary proceeding concerns the Parties’ respective rights, title, and interests in and
                                                      27
                                                           to certain medical receivables.
                                                      28


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                                                           Case 21-01167-abl         Doc 49     Entered 03/10/22 13:28:09        Page 3 of 10



                                                       1
                                                           3.       Jury Trials: Check one:
                                                       2
                                                                    ☒       A demand for a jury trial has not been made.
                                                       3
                                                                    ☐       A demand for a jury trial has been made pursuant to Fed. R. Civ. P. 38(b), and in
                                                       4
                                                           conformity with LR 9015, but one or more of the parties does not consent to a jury trial pursuant
                                                       5
                                                           to 28 U.S.C. § 157(e).
                                                       6
                                                                    ☐       It is expressly understood by the undersigned parties they have demanded a jury
                                                       7
                                                           trial pursuant to Fed. R. Civ. P. 38(b), and in conformity with LR 9015, and have consented to a
                                                       8
                                                           jury trial pursuant to 28 U.S.C. § 157(e).
                                                       9
                                                                    An original and two (2) copies of all instructions requested by either party shall be
                                                      10
                                                           submitted to the clerk for filing on or before 7 days before the Trial Date.
                                                      11
                                                                    An original and two (2) copies of all suggested questions of the parties to be asked of the
              1731 Village Center Circle, Suite 150




                                                      12
                                                           jury panel by the court on voir dire shall be submitted to the clerk for filing on or before 7 days
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                           before the Trial Date.
                                                      14
                                                           4.       Additional Pleadings
                                                      15
                                                                    Are there any counterclaims, cross claims or amendments to the pleadings expected to be
                                                      16
                                                           filed?
                                                      17
                                                                    ☒       Yes
                                                      18
                                                                    ☐       No
                                                      19
                                                           5.       Settlement Conference
                                                      20
                                                                    ☐       A settlement conference is requested.
                                                      21
                                                                    While the Parties do not request a settlement conference at this time, they anticipate
                                                      22
                                                           requesting a settlement conference following the completion of initial discovery.
                                                      23
                                                           6.       Trial
                                                      24
                                                                    Discovery cutoff shall be September 30, 2022.
                                                      25
                                                                    The case should be ready for trial by January 2023 and should take 3-5 day(s).
                                                      26
                                                           7.       All parties ☐ consent / ☒ do not consent to this court entering final judgment.
                                                      27

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                                                       1
                                                                 DATED this 10th day of March 2022.
                                                       2
                                                           SHEA LARSEN                                      GARMAN TURNER GORDON LLP
                                                       3
                                                           /s/ Bart K. Larsen                               By: /s/ Gabrielle A. Hamm
                                                       4   Bart K. Larsen, Esq.                             GERALD M. GORDON, ESQ.
                                                           Nevada Bar No. 8538
                                                       5   1731 Village Center Circle, Suite 150            WILLIAM M. NOALL, ESQ.
                                                           Las Vegas, Nevada 89134                          GABRIELLE A. HAMM, ESQ.
                                                       6                                                    7251 Amigo St., Suite 210
                                                           Attorneys for HASelect-Medical Receivables       Las Vegas, Nevada 89119
                                                       7   Litigation Finance Fund International SP
                                                                                                            and
                                                       8
                                                           ATKINSON LAW ASSOCIATES LTD.                     AKERMAN LLP
                                                       9                                                    MICHAEL D. NAPOLI, ESQ.
                                                           /s/ Clarisse L. Crisostomo                       Pro hac vice
                                                      10                                                    2001 Ross Avenue, Suite 3600
                                                           Clarisse L. Crisostomo, Esq.
                                                                                                            Dallas, Texas 75201
                                                      11   Nevada Bar No. 15526                             Tel: (214) 720-4360 / Fax: (214) 720-8116
                                                           376 E. Warm Springs Road, Suite 130
              1731 Village Center Circle, Suite 150




                                                      12   Las Vegas, Nevada 89119                          ARIEL E. STERN, ESQ.
                                                                                                            Nevada Bar No. 8276
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   Attorneys for Robert E. Atkinson, Trustee        1635 Village Center Circle, Suite 200
                        (702) 471-7432




                                                                                                            Las Vegas, Nevada 89134
                                                      14                                                    Tel: (702) 634-5000 / Fax: (702) 380-8572
                                                      15                                                    Email: ariel.stern@akerman.com

                                                      16                                                    Attorneys for Tecumseh–Infinity Medical
                                                                                                            Receivable Fund, LP
                                                      17

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                                                       1                                     CERTIFICATE OF SERVICE

                                                       2        1.    On March 10, 2022, I served the following document(s): STANDARD
                                                                      DISCOVERY PLAN ORREQUEST FOR WAIVER FOR FILING
                                                       3              DISCOVERY PLAN

                                                       4        2.    I served the above document(s) by the following means to the persons as listed
                                                                      below:
                                                       5
                                                                      ☒        a.       ECF System:
                                                       6
                                                                CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                       7        clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com

                                                       8        GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                                RECEIVABLES FUND, LP
                                                       9        ggordon@gtg.legal, bknotices@gtg.legal

                                                      10        GABRIELLE A. HAMM on behalf of TECUMSEH-INFINITY MEDICAL
                                                                RECEIVABLES FUND, LP
                                                      11        ghamm@Gtg.legal, bknotices@gtg.legal
              1731 Village Center Circle, Suite 150




                                                      12        MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                                                                RECEIVABLES FUND, LP
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13        michael.napoli@akerman.com,
                        (702) 471-7432




                                                                cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras@akerm
                                                      14        an.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com

                                                      15        ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL RECEIVABLES
                                                                FUND, LP
                                                      16        ariel.stern@akerman.com, akermanlas@akerman.com

                                                      17              ☐        b.       United States mail, postage fully prepaid:

                                                      18              ☐        c.       Personal Service:

                                                      19              I personally delivered the document(s) to the persons at these addresses:

                                                      20                              ☐       For a party represented by an attorney, delivery was made by
                                                                      handing the document(s) at the attorney’s office with a clerk or other person in
                                                      21              charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                                      in the office.
                                                      22
                                                                                      ☐       For a party, delivery was made by handling the document(s)
                                                      23              to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                                      place of abode with someone of suitable age and discretion residing there.
                                                      24
                                                                      ☐       d.      By direct email (as opposed to through the ECF System):
                                                      25              Based upon the written agreement of the parties to accept service by email or a
                                                                      court order, I caused the document(s) to be sent to the persons at the email
                                                      26              addresses listed below. I did not receive, within a reasonable time after the
                                                                      transmission, any electronic message or other indication that the transmission was
                                                      27              unsuccessful.

                                                      28              ☐        e.       By fax transmission:


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                                                       1
                                                                      Based upon the written agreement of the parties to accept service by fax
                                                       2              transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                      numbers listed below. No error was reported by the fax machine that I used. A copy
                                                       3              of the record of the fax transmission is attached.

                                                       4              ☐        f.       By messenger:

                                                       5              I served the document(s) by placing them in an envelope or package addressed to
                                                                      the persons at the addresses listed below and providing them to a messenger for
                                                       6              service.

                                                       7              I declare under penalty of perjury that the foregoing is true and correct.

                                                       8              Dated: March 10, 2022.

                                                       9                                                By: /s/ Bart K. Larsen, Esq,

                                                      10

                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




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                                                           Case 21-01167-abl       Doc 49     Entered 03/10/22 13:28:09       Page 7 of 10



                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                            Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                        Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      15   INTERNATIONAL SP,
                                                      16                         Plaintiff,                         Adversary Case No. 21-01167-abl
                                                           v.
                                                      17
                                                           TECUMSEH–INFINITY MEDICAL
                                                      18   RECEIVABLES FUND, LP,
                                                      19                        Defendant.
                                                                                                                    REPORT OF PARTIES’ PLANNING
                                                      20   TECUMSEH–INFINITY MEDICAL                                MEETING PURSUANT TO
                                                           RECEIVABLES FUND, LP,                                    OFFICIAL FORM 35 TO FED. R.
                                                      21
                                                                               Counter-Plaintiff,                   CIV. P
                                                      22   v.
                                                      23   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      24   INTERNATIONAL SP; ROBERT E. ATKINSON,
                                                           CHAPTER 7 TRUSTEE
                                                      25
                                                                                Counter-Defendants.
                                                      26

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                                                       1
                                                           ROBERT E ATKINSON, CHAPTER 7
                                                       2   TRUSTEE,
                                                       3                         Counter Plaintiff,
                                                       4   v.
                                                       5   TECUMSEH-INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       6
                                                                                 Counter Defendant.
                                                       7

                                                       8           1.     Pursuant to Fed. R. Civ. P. 26(f), a Rule 26 conference was held on December 13,

                                                       9   2021, and was attended by Bart K. Larsen, Esq. attended for Plaintiff HASelect-Medical

                                                      10   Receivables Litigation Finance Fund International SP (“Plaintiff”), Michael D. Napoli, Esq.

                                                      11   attended for Defendant Tecumseh–Infinity Medical Receivables Fund, LP (“Defendant”), and
              1731 Village Center Circle, Suite 150




                                                      12   Clarisse L. Crisostomo, Esq. attended for Chapter 7 Trustee Robert E. Atkinson (“Counter
                   Las Vegas, Nevada 89134




                                                           Defendant”).
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14           2.     Pre-Discovery Disclosures. All parties will exchange by January 17, 2022 the

                                                      15   information required by Fed. R. Civ. P. 26(a)(1).

                                                      16           3.     Discovery Plan. The parties jointly propose to the court the following discovery

                                                      17   plan:

                                                      18                  a.        Discovery will be needed on all claims, counterclaims, and defenses raised

                                                      19   through the pleadings.

                                                      20                  b.        Discovery requests and responses thereto may be served among the parties

                                                      21   electronically by email using the same email addresses used by counsel for the parties for notice

                                                      22   through the Court’s electronic case filing system.

                                                      23                  c.        All discovery shall be commenced in time to be completed by September

                                                      24   30, 2022.

                                                      25                  d.        A maximum of twenty-five (25) interrogatories may be served by each party

                                                      26   to any other party. Responses are due thirty (30) days after service.

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                                                       1
                                                                           e.      A maximum of twenty-five (25) requests for admission by each party to any
                                                       2
                                                           other party, exclusive of requests that seek solely to authenticate documents. Responses are due
                                                       3
                                                           thirty (30) days after service.
                                                       4
                                                                           f.      A maximum of ten (10) depositions by each party. Each deposition limited
                                                       5
                                                           to maximum of seven (7) hours of deposition time unless extended by agreement of parties.
                                                       6
                                                                           g.      Reports from retained experts under Rule 26(a)(2) shall be due by June 30,
                                                       7
                                                           2022. Rebuttal reports shall be due by August 5, 2022
                                                       8
                                                                           h.      Supplementations under Rule 26(e) due September 1, 2022.
                                                       9
                                                                   4.      Other Items.
                                                      10
                                                                           a.      The parties do not request a conference with the court before entry of the
                                                      11
                                                                   scheduling order.
              1731 Village Center Circle, Suite 150




                                                      12
                                                                           b.      The parties request a pretrial conference in December 2022.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                           c.      The parties should be allowed until June 1, 2022 to seek leave to join
                                                      14
                                                                   additional parties and/or amend the pleadings. Responses to amended pleadings shall be
                                                      15
                                                                   governed by Rule 15(a)(3).
                                                      16
                                                                           d.      All potentially dispositive motions should be filed by October 31, 2022.
                                                      17
                                                                           e.      Settlement ☒ is ☐ is not likely to be enhanced by the use of a settlement
                                                      18
                                                                   conference. While the parties do not request a settlement conference at this time, they
                                                      19
                                                                   anticipate requesting a settlement conference following the completion of initial discovery.
                                                      20
                                                                           f.      Final lists of witnesses and exhibits under Rule 26(a)(3) should be due from
                                                      21
                                                                   the parties by November 30, 2022.
                                                      22
                                                                           g.      The parties shall have fourteen (14) days after service of final lists of
                                                      23
                                                                   witnesses and exhibits to list objections under Rule 26(a)(3).
                                                      24
                                                                   The case should be ready for trial by January 3, 2023 and at this time, the trial is expected
                                                      25
                                                           to take approximately three (3) days.
                                                      26

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                                                       1
                                                                 DATED this 10th day of March 2022.
                                                       2
                                                           SHEA LARSEN                                      GARMAN TURNER GORDON LLP
                                                       3
                                                           /s/ Bart K. Larsen                               By: /s/ Gabrielle A. Hamm
                                                       4   Bart K. Larsen, Esq.                             GERALD M. GORDON, ESQ.
                                                           Nevada Bar No. 8538
                                                       5   1731 Village Center Circle, Suite 150            WILLIAM M. NOALL, ESQ.
                                                           Las Vegas, Nevada 89134                          GABRIELLE A. HAMM, ESQ.
                                                       6                                                    7251 Amigo St., Suite 210
                                                           Attorneys for HASelect-Medical Receivables       Las Vegas, Nevada 89119
                                                       7   Litigation Finance Fund International SP
                                                                                                            and
                                                       8
                                                           ATKINSON LAW ASSOCIATES LTD.                     AKERMAN LLP
                                                       9                                                    MICHAEL D. NAPOLI, ESQ.
                                                           /s/ Clarisse L. Crisostomo                       Pro hac vice
                                                      10                                                    2001 Ross Avenue, Suite 3600
                                                           Clarisse L. Crisostomo, Esq.
                                                                                                            Dallas, Texas 75201
                                                      11   Nevada Bar No. 15526                             Tel: (214) 720-4360 / Fax: (214) 720-8116
                                                           376 E. Warm Springs Road, Suite 130
              1731 Village Center Circle, Suite 150




                                                      12   Las Vegas, Nevada 89119                          ARIEL E. STERN, ESQ.
                                                                                                            Nevada Bar No. 8276
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   Attorneys for Robert E. Atkinson, Trustee        1635 Village Center Circle, Suite 200
                        (702) 471-7432




                                                                                                            Las Vegas, Nevada 89134
                                                      14                                                    Tel: (702) 634-5000 / Fax: (702) 380-8572
                                                      15                                                    Email: ariel.stern@akerman.com

                                                      16                                                    Attorneys for Tecumseh–Infinity Medical
                                                                                                            Receivable Fund, LP
                                                      17

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